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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MISSOURI                                  fFILED
                              SOUTHEASTERN DIVISION
                                                                                         APR~   5 2022
UNITED STATES OF AMERICA,                    )
                                             )                                         U. S. DISTRICT COURT
                                                                                     EASTERN DISTRICT OF MO
                      Plaintiff,             )                                           CAPE GIRARDEAU
                                             )
vs.                                          )       Case No!             1 :22CR00036 RWS/ACL
                                             )
BRANDON SHANE ANDREWS,                       )       Title 18, U.S.C. § 922(g)(l)
                                             )
                      Defendant.             )

                                         INDICTMENT

       THE GRAND JURY CHARGES THAT:

       On or about February 6, 2022, in Butler County, Missouri, within the Southeastern

Division of the Eastern District of Missouri, Brandon Shane Andrews, the defendant herein,

knowingly possessed a firearm., knowing he had previously been convicted in a court of law of

one or more crimes punishable by a term of imprisonment exceeding one year, and the firearm.

previously traveled in interstate commerce during or prior to being in defendant's possession. In

violation of Title 18, United States Code, Section 922(g)(l ), and punishable under Title 18,

United States Code, Section 924(a)(2).

                                             A TRUE BILL


                                             Foreperson
SAYLER A. FLEMING
United States Attorney


Tim J. Willis, # 62428MO
Assistant United States Attorney
